      Case 2:14-cv-02652-KDE-SS Document 223 Filed 09/17/15 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

AMTAX HOLDINGS 2001-VV, LLC, ET AL.                                CIVIL ACTION

VERSUS                                                             NO. 14-2652

WARREN HOMES, LLC, ET AL.                                          SECTION “N” (1)

                                  ORDER AND REASONS

              Presently before the Court are two motions filed Defendants. See Rec. Docs. 119-8

and 93). The Court rules on each as stated herein.

I.      Defendants' Motion to Review Magistrate Judge's Denial (Sealed Rec. Doc. 119-8)

              Having carefully considered the parties' submissions, the record in this matter, and

applicable law, the Court does not find Magistrate Judge Shushan's discovery rulings clearly

erroneous or contrary to law. Accordingly, IT IS ORDERED that Defendants' Motion to Review

Magistrate Judge's Denial (Sealed Rec. Doc. 119-8) is DENIED such that the Magistrate Judge's

Order (Rec. Doc. 110) is AFFIRMED.

II.    Defendants' Motion for Contempt, Modification of the Temporary Restraining Order
       and for Attorneys' Fees (Rec. Doc. 93)

              On the limited showing made, the Court is not convinced that the relief sought by

Defendants' Motion for Contempt, Modification of the Temporary Restraining Order and for

Attorneys' Fees (Rec. Doc. 93) is warranted. Thus, IT IS ORDERED that the motion is DENIED.

              New Orleans, Louisiana, this 17th day of September 2015.


                                                     _____________________________________
                                                      KURT D. ENGELHARDT
                                                      United States District Judge
